&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;
&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-&lt;A NAME="1"&gt;01&lt;/A&gt;-00&lt;A NAME="2"&gt;116&lt;/A&gt;-CV&lt;/CENTER&gt;
&lt;/STRONG&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;In re &lt;A NAME="3"&gt;David Morrell Gist&lt;/A&gt;&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;&lt;SPAN STYLE="font-family: Times New Roman" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;ORIGINAL PROCEEDING FROM &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;


&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;	&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;	David Morrell Gist files his petition for writ of mandamus.  &lt;EM&gt;See &lt;/EM&gt;Tex. R. App. P. 
 52.8.  We deny relator's petition for writ of mandamus.&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Before Chief Justice Aboussie, Justices B. A. Smith and Puryear&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Filed:   March 20, 2001&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times Regular"&gt;Do Not Publish&lt;/SPAN&gt;&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
